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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

PAVLO ZINKEVYCH,                               §
    A# 231-844-142                             §
         Petitioner,                           §
                                               §
v.                                             §           No. 3:25-CV-1149-N-BW
                                               §
JOSH JOHNSON, Acting Field Office              §
Director (Dallas), Immigration and             §
Customs Enforcement, et al.,                   §
            Respondents.                       §        Referred to U.S. Magistrate Judge 1

                   ORDER AND INSTRUCTIONS TO PARTIES
                    IN A MOTION UNDER 28 U.S.C. § 2241

      Petitioner Pavlo Zinkevych, an immigration detainee, has filed a Petition for
Writ of Habeas Corpus and Request for Release from Detention, filed on May 6,
2025. (Dkt. No. 1). Pleadings and briefs are required or permitted as follows:

SERVICE OF PROCESS. The Clerk shall serve a true copy of this order on
Petitioner. True copies of this order, the petition, any memorandum in support, and
any other relevant orders shall be served electronically on the United States Attorney
for the Northern District of Texas. 2 See Fed. R. Crim. P. 49(b); Fed. R. Civ. P.
5(b)(2)(D).

RESPONSIVE PLEADINGS. The United States Attorney shall file an answer or
response to the petition within SIXTY DAYS of the date of service of this order.
The answer or response should be captioned appropriately, and not as a motion to
dismiss, motion for summary judgment, or other motion seeking judgment as a
matter of law. The United States Attorney shall serve a copy of the answer or
response and any brief on Petitioner and shall file a certificate with the Clerk
evidencing service.



       1
         By Special Order No. 3-251, this habeas case has been automatically referred for
full case management.
       2
        Such service shall be directed to the attention of the Civil Chief of the United States
Attorney’s Office.
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PETITIONER’S REPLY. Petitioner may submit a reply brief to the respondent’s
answer or other pleading within THIRTY DAYS from date of service of the answer
or other pleading.

BRIEFS. Briefs should be double-spaced. Each argument with supporting citations
advanced in the brief should clearly specify the specific ground or numbered
paragraph of the pleading it seeks to support or oppose. A copy of any brief must be
served by mail on the opposing party or counsel, if represented by counsel, and a
certificate reflecting service shall be included in the brief.

CHANGE OF ADDRESS. Petitioner must immediately notify the Court of any
change of address and its effective date by filing a notice entitled “Notice to the
Court of Change of Address.” The notice should contain only information about the
change of address and effective date.

      SO ORDERED on May 8, 2025.




                                       ____________________________________
                                       BRIAN McKAY
                                       UNITED STATES MAGISTRATE JUDGE




                                         2
